                  Case 5:18-po-01069 Document 1 Filed in TXSD on 02/25/18 Page 1 of 1
 AO 91 (Rev. 11/11) Criminal Complaint


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                   SouthernDistrict
                                               __________   Districtofof__________
                                                                         Texas

                   United States of America                        )
                              v.                                   )
                  Juan David ORTIZ-Flores                          )      Case No.
                                                                   )                 L-18-PO1069
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)


                                               CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of               September 01, 2016              in the county of                    Webb              in the
       Southern         District of           Texas            , the defendant(s) violated:

             Code Section                                                    Offense Description
8 USC 1325(a)(1)                            an alien, did unlawfully enter and attempt to enter the United States at a place other than
                                            designated by immigration officer.




          This criminal complaint is based on these facts:
Furthermore, it is based on verbal statements by, Juan David ORTIZ-Flores, who admitted to being a citizen of Mexico, who entered
or attempted to enter illegally into the United States by wading the Rio Grande River near, Laredo, Texas, thus avoiding immigration
inspection, nor having proper documents to enter, travel through, or remain in the United States. This illegal entry or attempted entry
took place on September 1, 2016.




              Continued on the attached sheet.
                                                                                                        /S/
                                                                                              Complainant’s signature

                                                                          William Jambois                  , Border Patrol Agent
                                                                                               Printed name and title

 Sworn to before me and signed in my presence.


 Date: February 25, 2018
                                                                                                 Judge’s signature

 City and state:      Laredo, Texas                                       Diana Song Quiroga               , U.S. Magistrate Judge
                                                                                               Printed name and title
